
PER CURIAM.
We have for review a decision on the following question certified to be of great public importance:
DOES THE CRIME OF ATTEMPTED SECOND DEGREE MURDER EXIST IN FLORIDA?
Durham v. State, 753 So.2d 781, 781 (Fla. 5th DCA 2000). We have jurisdiction pursuant to article V, section 3(b)(4) of the Florida Constitution. We recently answered the same certified question in the affirmative in Brown v. State, 790 So.2d 389 (Fla.2001). Accordingly, we approve the result in Durham on this issue.
It is so ordered.
WELLS, C.J., and SHAW, LEWIS and QUINCE, JJ., concur.
HARDING, J., dissents with an opinion, in which ANSTEAD and PARIENTE, JJ., concur.
